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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION



THE COMMONWEALTH OF VIRGINIA,
VIRGINIA OFFICE FOR PROTECTION
AND ADVOCACY,                                                               •■ v...


                                                                                      DEC - 3 2007
                 Plaintiff,                            CASE NO.
                                                                                                ..'   ..\. I.:



v.
                                                           wen
JAMES S. REINHARD, in his official
Capacity as Commissioner, Department
of Mental Health, Mental Retardation
and Substance Abuse Services, of the
Commonwealth of Virginia, DENISE
D. MICHELETTI, in her official capacity
as Director, Central Virginia Training
Center, and CHARLES M. DAVIS, in his
Official capacity as Director, Central
State Hospital,


                Defendants.


          COMPLAINT AND MOTION FOR PRELIMINARY INJUNCTION

                                  PRELIMINARY STATEMENT


1. Plaintiff, Virginia Office for Protection and Advocacy (VOPA), brings this action against the

     Defendants, James S. Reinhard, Commissioner, Department of Mental Health, Mental

     Retardation and Substance Abuse Services (DMHMRSAS) (in his official capacity only),

     Denise D. Micheletti, Director, Central Virginia Training Center (CVTC) (in her official

     capacity only), and Charles M. Davis, Director, Central State Hospital (CSH) (in his official
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    capacity only) seeking to compel Defendants to provide to VOPA records which VOPA is

    legally entitled to, in order that VOPA may fulfill its statutory obligations.

2. VOPA has been designated as the Commonwealth of Virginia's Protection and Advocacy

    (P&A) system for persons with disabilities. Code of Va. § 51.5-39.1, et seq.

3. As the State P&A system, VOPA has the responsibility and authority to access records in the

    course of investigating instances of abuse or neglect of individuals with mental illness. 42

    U.S.C. § 15043; 42 U.S.C. §§ 10805,10806; Code of Va. § 51.5-39.4.

4. VOPA has made repeated requests to Defendants for records which VOPA has authority to

   access.



5. The Defendants have refused to grant VOPA access to the requested records.

6. VOPA seeks a declaratory judgment that Defendants, by refusing to provide VOPA the

   requested records, have violated federal law, a preliminary and permanent injunction

   requiring Defendants to provide the requested records to VOPA forthwith, and a preliminary

   and permanent injunction forbidding Defendants from interfering, in any way, with VOPA's

   statutorily authorized access to records.


                                         JURISDICTION


7. This Court has jurisdiction over the claims brought herein pursuant to 28 U.S.C. § 1331 and

   28 U.S.C. § 2201. Plaintiffs bring these claims under the Developmental Disabilities

   Assistance and Bill of Rights Act, 42 U.S.C § 15001, et seq., and the Protection and

   Advocacy for Individuals with Mental Illness Act, 42 USC § 10801, et seq.
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                                                VENUE


8.    Venue is appropriate in this district pursuant to 28 U.S.C. § 1391(b) as a substantial portion

     of the events or omissions giving rise to Plaintiffs cause of action occurred within this

     judicial district.


                                               PARTIES


9. Plaintiff VOPA is an agency of the Commonwealth of Virginia, created by statute, Chapter

     8.1 of Title 51.5, Code of Virginia. VOPA has been designated as the Protection and

     Advocacy System for persons with disabilities in the Commonwealth of Virginia. Code of

     Va. §51.5-39.2.


10. Defendant James Reinhard, is the Commissioner, DMHMRSAS. The Central Office,

     DMHMRSAS, is located in Richmond, Virginia. The Commissioner, DMHMRSAS, is

     responsible for the supervision and management of the Department and its state facilities.

     Code of Va. §37.2-304.


11. Defendant Denise Micheletti is the Director, CVTC. CVTC is a DMHMRSAS-operated

     institution for persons with mental retardation located in Amherst County, Virginia. The

     Director, CVTC, is responsible for "the safe, efficient and effective operation" of the facility

     and for compliance with "all applicable federal and state statutes, regulations, policies and

     agreements." Code of Va. § 37.2-707.


12. Defendant Charles Davis is the Director, CSH. CSH is a DMHMRSAS-operated institution

     for persons with mental illness located in Dinwiddie County, Virginia. The Director, CSH, is

     responsible for "the safe, efficient and effective operation" of the facility and for compliance

     with "all applicable federal and state statutes, regulations, policies and agreements." Code of
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     Va. § 37.2-707.


                                                     FACTS


13. On or about October 18, 2006, an individual with mental retardation and mental illness

    hereinafter referred to as "Resident A", died while a resident of CVTC. Resident A had a

    decades-long documented history at CVTC of ingesting non-edible items. During October

    2006, Resident A began to show symptoms of bowel obstruction. He was transported to the

    hospital. On October 10, 2006, an exploratory laparotomy was performed and two latex

    gloves were discovered in his intestines. The gloves were surgically removed. Resident A

    died on October 18, 2006.


14. On or about November 13,2006, after receiving a report of resident A's death while he was

    in the custody of DMHMRSAS, VOPA initiated an investigation of the death to determine

    whether or not the death was a result of abuse or neglect.

15. On November 16, 2006, VOPA requested, in writing, that CVTC provide VOPA with all

    records related to Resident A's death including any risk management review, baseline

    analysis review, or mortality review.


16. On June 5, 2007, VOPA renewed its request, in writing, for the report of the baseline analysis

    review.'

17. On July 12, 2007, VOPA renewed its request in writing for the baseline analysis review and

   risk management review.




1. DMHRSAS Departmental Instruction 401 defines an "event BAR" as follows:
       This means a Baseline Analysis and Review (BAR) of an event, which involves a fundamental and
       substantial examination of all surrounding facts and elements of the event, with a focus on
       constructive criticism and correction of any/all related systems and processes.
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 18. Defendants have refused to provide records related to Resident A's death requested by

     VOPA. As a result, VOPA is unable to complete its statutorily authorized investigation into

    Resident A's death.


 19. On or about January 11, 2007, an individual with mental retardation hereinafter referred to as

    "Resident B" was assaulted at CVTC by another resident. Resident B was observed by

    CVTC staff running from Resident B's room covered in blood. One staff member went to

    Resident B's room where she found multiple pieces of human ear tissue and a large amount

    of blood on the floor.


20. On or about May 24, 2007, VOPA opened a formal investigation into the incident to

    determine whether or not the injuries sustained by Resident B were a result of abuse or

    neglect.


21. On June 8, 2007, VOPA requested, in writing, records regarding the injuries to Resident B

    including any risk management review or baseline analysis review conducted regarding the

    incident.


22. On July 12, 2007, VOPA renewed its request, in writing, for the baseline analysis review and

    risk management review.


23. Defendants have refused to provide records related to Resident B's injuries requested by

    VOPA.


24. As a result of the denial of the requested records, VOPA is unable to complete its statutorily

   authorized investigation into the incident which caused Resident B's injuries.

25. On, or about March 22, 2007, an individual with mental illness hereinafter referred to as

   "Resident C" died while a patient at CSH. Resident C had been held in some form of
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    restraints for a period of approximately 33 hours before being released. About thirty minutes

    after Resident C was released from restraints, several CSH staff entered Resident C's

    bedroom to attempt to place Resident C into restraints. During the restraint incident,

    Resident C complained of being unable to breathe. Attempts to revive Resident C failed and

    Resident C was transported to a community hospital and was pronounced dead.

26. On, or about April 5,2007 after receiving the report of the death of Resident C while in the

    custody of DMMHRSAS, VOPA initiated an investigation of the death to determine whether

    or not the death was a result of abuse or neglect.


27. On, May 31,2007, VOPA requested in writing records relating to the death of Resident C,

    including the root cause analysis, mortality review, and risk management analysis.

28. On or about August 13, 2007, counsel for Defendants informed VOPA that its requests for

   records was denied by the Commissioner, DMHMRSAS, on the basis of the peer review

   privilege.


29. On August 29,2007, VOPA renewed its request, in writing, for the mortality review, root

   cause analysis, and risk management review regarding Resident C.


30. Defendants have failed to provide records related to Resident C's death requested by VOPA.

31. As a result of the denial of the requested records, VOPA is unable to complete its statutorily

   authorized investigation into Resident C's death.


32. By letter dated September 14, 2007, VOPA sought to determine whether further discussion of

   the issue with Defendants would be productive.

33. On or about September 19, 2007, counsel for Defendants requested additional time to

   consider the issue.
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 34. By letter dated November 27, 2007, counsel for Defendants informed VOPA that materials

    created and maintained by DMHMRSAS as peer review would not be provided in response

    to VOPA's requests for records.


35. The failure of DMHMRSAS to provide the requested records prevents VOPA from obtaining

    information that it is entitled to receive under federal law, and unlawfully restricts VOPA's

    ability to conduct statutorily authorized investigations.

                                         CAUSE OF ACTION
 DEVELOPMENTAL DISABILITIES ASSISTANCE AND BILL OF RIGHTS ACT AND THF
  PROTECTION AND ADVOCACY FOR INDIVIDUALS WITH MENTAL ILLNESS ACT

36. Plaintiffs repeat, reiterate and reallege all of the foregoing, as if fully set forth hereat.

37. At all times alleged, VOPA has been operating under authority granted by the DD Act, 42

    U.S.C. § 15001, et seq., and its implementing regulations, 45 C.F.R. § 1386, et seq. and the

    PAIMI Act, 42 U.S.C. § 10801, et seq., and its implementing regulations, 42 CFR § 51.1, et

   seq. as Virginia's protection and advocacy system.


38. The DD Act at 42 U.S.C. § 15043(a)(2)(B) authorizes VOPA as the protection and advocacy

   system for Virginia to investigate incidents of abuse and neglect of individuals with

   developmental disabilities whenever those incidents are reported to VOPA or when VOPA

   has probable cause to believe that incidents of abuse or neglect have occurred.

39. 42 U.S.C. § 15043(a)(2)(I)-(J) authorizes VOPA to have access to "all records" of any

   individual who is a client and who has authorized access to records or when there is

   "probable cause to believe that the health or safety of the individual is in serious and

   immediate jeopardy" or in the case of the death of an individual with a developmental

   disability.
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40.45 C.F.R. § 1386.22(b) specifies that VOPA is authorized to have access to records prepared

    by an agency charged with investigating incidents of abuse or neglect, injury, or death at a

    facility when such records describe any or all of the following: abuse, neglect, injury, or

    death; steps taken to investigate the incidents; reports and records, including personnel

    records prepared or maintained by the facility in connection with such reports of incidents; or

    supporting information relied upon in creating a report including records describing persons

   who were interviewed, physical or documentary evidence reviewed and related investigative

   findings.


41. VOPA's request for records or investigational information pertaining to Residents A and B,

   including any peer review records, falls within the description of records and investigational

   information contained in 42 U.S.C. § 15043(a)(2)(I)-(J) and 45 C.F.R. § 1386.22(a)-(b).

42. By refusing to provide the access requested by VOPA, Defendants have violated the DD Act

   and the regulations promulgated pursuant to it.


43. The PAIMI Act authorizes VOPA as the protection and advocacy system for Virginia to

   investigate incidents of abuse and neglect of individuals with mental illness whenever those

   incidents are reported to VOPA or when VOPA has probable cause to believe that incidents

   of abuse or neglect have occurred. 42 U.S.C. § 10805(a)(l)(a).

44. The PAIMI Act authorizes VOPA to have access to the records of any individual who is a

   client and who has authorized access to their records. 42 U.S.C. § 10805(a)(4)(A).

45. The PAIMI Act authorizes VOPA to have access to records of any individual who has died or

   who may be unable to authorize access due to a physical or mental condition, and VOPA has
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    probable cause to believe the individual has been the subject of abuse or neglect. 42 U.S.C. §

    10805(a)(4)(B).


46. The PAIMI Act defines records to include reports prepared by staff of a facility rendering

    care and treatment or reports prepared by an agency charged with investigating reports of

    incidents of abuse, neglect and injury occurring at such a facility that describe incidents of

    abuse, neglect, and injury occurring at such a facility and the steps taken to investigate such

    incidents. 42 U.S.C. § 10806(b)(3)(A).


47. 42 C.F.R. § 51.41 specifies that VOPA is authorized to have access to records prepared by an

    agency charged with investigating incidents of abuse or neglect, injury, or death at a facility

    when such records describe any or all of the following: abuse, neglect, injury, or death; steps

    taken to investigate the incidents; reports and records, including personnel records prepared

    or maintained by the facility in connection with such reports of incidents; or supporting

    information relied upon in creating a report including records describing persons who were

   interviewed, physical or documentary evidence reviewed and related investigative findings.

48. 42 U.S.C. § 10806(b)(2)(C) provides that: "If the laws of a State prohibit an eligible system

   from obtaining access to the records of individuals with mental illness in accordance with

   section 10805(a)(4) of this title and this section, section 10805(a)(4) of this title and this

   section shall not apply to such system before-- (i) the date such system is no longer subject to

   such a prohibition; or (ii) the expiration of the 2-year period beginning on May 23, 1986,

   whichever occurs first."
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 49. VOPA's request for records or investigational information pertaining to Resident C,

      including any peer review records, falls within the description of records and investigational

      information contained in 42 U.S.C. §§ 10805-10806 and 42 C.F.R. § 51.41.

 50. By refusing to provide the access requested by VOPA, Defendants have violated the PAMI

      Act and the regulations promulgated pursuant to it.

 51. Due to Defendants' violation of the DD and PAIMI Acts, VOPA is irreparably harmed as it is

      prevented from carrying out its responsibilities under those Acts.

52. Unless Defendants are enjoined to provide to VOPA the access required by the DD and

      PAIMI Acts, VOPA will continue to be irreparably harmed and will be unable to protect and

      advocate for persons with disabilities.

                                        INJUNCTIVE RFT IFF


53. Plaintiffs repeat, reiterate and reallege all of the foregoing, as if fully set forth hereat.

54. As a proximate result of Defendants' violation of the DD and PAIMI Acts, VOPA has

     suffered, and will continue to suffer, irreparable harm for which there is no remedy at law.

                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff, The Commonwealth of Virginia, Virginia Office for Protection and

Advocacy, respectfully prays that this Court grant it the following relief:

A.       Enter a declaratory judgment that Defendants' refusal to provide the records requested by

         VOPA is in violation of the DD and PAIMI Acts.

B.      Both preliminarily and permanently enjoin Defendants to provide to VOPA the access to

        records mandated by the DD and PAIMI Acts.




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C.   Both preliminarily and permanently enjoin Defendants from interfering, in any way, with

     VOPA's access to records.


D.   Grant VOPA such other and further relief which to this Court seems just and proper.



DATED   : I ^-(\ j



                                         Respectfully submitted,




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